                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

                                      Case No. 4:22-cv-3242

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 BURWELL BOWLERS, LLC d/b/a
 LONGHORN LANES & SPORTS CLUB,

        Defendant.


                                           COMPLAINT

       Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant Burwell Bowlers, LLC d/b/a Longhorn Lanes & Sports Club

(“Defendant”), and alleges as follows:

                                          THE PARTIES

       1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Palm Beach County, Florida.

       2.      Defendant is a limited liability company organized and existing under the laws of

the State of Nebraska with its principal place of business located at 310 N Highway 11 POB 774,

Burwell, NE 68823. Defendant’s agent for service of process is Bob Augustyn, 627 K Street, PO

Box 564, Burwell, NE 68823.

                                JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).



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       4.        This Court has personal jurisdiction over Defendant because it maintained

sufficient minimum contacts with Nebraska such that the exercise of personal jurisdiction over it

would not offend traditional notions of fair play and substantial justice.

         5.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

 Defendant or its agents reside or may be found in this district. “In construing that section, courts

 have generally held that a defendant may be ‘found’ in any district in which

 personal jurisdiction may be obtained over the defendant.” Infogroup Inc. v. Office Depot, No.

 8:20CV109, 2020 U.S. Dist. LEXIS 212227, at *16 (D. Neb. Nov. 13, 2020). “In other words,

 ‘if a court has personal jurisdiction over the defendants in a copyright infringement action, venue

 in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-CIV-ZLOCH,

 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store Decor Div. of Jas

 Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill. 1991).

                                                 FACTS

I.     Plaintiff’s Business

       6.        Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

       7.        Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

       8.        Plaintiff charges its clients (generally, grocery stores, restaurant chains, food

service companies, etc.) a minimum monthly fee of $999.00 for access to its library of professional

photographs.

       9.        Plaintiff does not license individual photographs or otherwise make individual


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photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.

       10.     Plaintiff owns each of the photographs available for license on its website and

serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.    The Work at Issue in this Lawsuit

       11.     In 2001, a professional photographer created a photograph titled “PotatoBaked013”

(the “Work”). A copy of the Work is exhibited below:




       12.     The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

Copyrights on September 29, 2016 and was assigned Registration No. VA 2-019-412. A true and

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correct copy of the Certification of Registration pertaining to the Work is attached hereto as

Exhibit “A.”

          13.      Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.

III.      Defendant’s Unlawful Activities

          14.      Defendant is an 8-lane bowling facility that also serves a wide variety of food and

beverages.

          15.      Defendant advertises/markets its business primarily through its social media (e.g.,

https://www.facebook.com/profile.php?id=100063535688382) and other forms of advertising.

           16.     On February 13, 2022 (after Plaintiff’s above-referenced copyright registration of

 the      Work),      Defendant      published      the     Work       on     its    Facebook   page   (at

 https://www.facebook.com/104670004211500/photos/a.104785224199978/658435485501613/)

 in connection with the advertising of its food and drink specials for Superbowl LVI :




          17.      A true and correct copy of the screenshot of Defendant’s Facebook, displaying the


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copyrighted Work, is attached hereto as Exhibit “B.”

       18.     Defendant is not and has never been licensed to use or display the Work. Defendant

never contacted Plaintiff to seek permission to use the Work in connection with its advertising or

for any other purpose – even though the Work that was copied is clearly professional stock

photography that would put Defendant on notice that the Work was not intended for public use.

       19.     Defendant utilized the Work for commercial use – namely, in connection with the

marketing of Defendant’s business.

       20.     Through its ongoing diligent efforts to identify unauthorized use of its photographs,

Plaintiff first discovered the aforementioned unauthorized use/display of the Work on June 3,

2022. Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized

use. To date, Plaintiff has been unable to negotiate a reasonable license for the past/existing

infringement of its Work.

       21.     Indeed, rather than attempt to negotiate a license/take responsibility for its actions,

Defendant      opted     instead      to     retain       counsel     (Thomas           S.   Kruml,   Esq.)

(http://www.ordlegal.com/index.html) who called undersigned counsel’s office on November 3,

2022 and proceeded to berate a staff member by stating (verbatim): “Shove your demand letter

up your ass and go fuck yourself. This is all a scam” Mr. Kruml then hung up the phone. When

Mr. Kruml was later confronted by the incident and told he should not make such statements to

undersigned counsel’s research assistant, his only response was that he thought it was a receptionist

that he told to ‘shove it up your ass.’

                         COUNT I – COPYRIGHT INFRINGEMENT

       22.     Plaintiff re-alleges and incorporates paragraphs 1 through 21 as set forth above.

       23.     The Work is an original work of authorship, embodying copyrightable subject


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matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101 et

seq.).

         24.    Plaintiff owns a valid copyright in the Work, having registered the Work with the

Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

         25.    As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

Defendant had access to the Work prior to its own reproduction, distribution, and public display

of the Work on Defendant’s Facebook page.

         26.    Defendant reproduced, distributed, and publicly displayed the Work without

authorization from Plaintiff.

         27.    By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for its own commercial purposes.

          28.   Upon information and belief, Defendant located a copy of the Work on the internet

 and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

 commercial use.

         29.    Defendant’s infringement was willful as it acted with actual knowledge or reckless

disregard for whether their conduct infringed upon Plaintiff’s copyright. Notably, despite multiple

notices to Defendant of the infringement and Defendant’s retention of counsel, Defendant has

refused to remove the Work from display/publication on its actively managed Facebook page. The

Work remains published on Defendant’s Facebook page as of the filing of this Complaint.

Defendant’s willfulness is further demonstrated by the unprofessional/childish antics of

Defendant’s counsel (who thought it proper to lob profanities at undersigned counsel’s staff rather


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than discuss the matter as adults). Defendant clearly understands that high-end food photography

is not generally available for free or that such can simply be copied from the internet.

       30.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

infringement.

       31.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

of the Work, which amounts shall be proven at trial.

       32.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

       33.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

       34.      Defendant’s conduct has caused and any continued infringing conduct will continue

to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

   a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

   b. A declaration that such infringement is willful;

   c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

       Plaintiff’s election, an award of statutory damages for willful infringement up to

       $150,000.00 for each infringement of the Work;

   d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;


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   e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

   f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

       successors, affiliates, subsidiaries and assigns, and all those in active concert and

       participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

       or continuing to display, transfer, advertise, reproduce, or otherwise market any works

       derived or copied from the Work or to participate or assist in any such activity; and

   g. For such other relief as the Court deems just and proper.

                                       Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: November 4, 2022.


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